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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

  KHOLKAR VISHVESHWAR GANPAT                                       CIVIL ACTION
  VERSUS                                                           NO:     18-13556
  EASTERN PACIFIC SHIPPING PTE, LTD.,                              SECTION: “E” (4)
  d/b/a/ “EPS”
                                            ORDER
       Considering the Ex Parte Joint Motion for the Release and Protection of Certain Records

of Dr. Sandra Michel, the Court GRANTS the Motion, and hereby ORDERS:

      (1) The interpretative results and raw data resulting from Dr. Sandra Michel’s

          administration of the following psychometric instruments on August 2, 2022,

          pertaining to Kholkar Vishveshwar Ganpat shall be released to Dr. Charles Figley, who

          may then release the information to Mr. Kholkar’s legal team as he deems appropriate:



             a. Morel Emotional Numbing Test for PTSD – 5th Edition (MENT);

             b. Inventory of Problems-29 (IOP-29);

             c. Inventory of Problems – Memory Module (IOP-M);

             d. Checklist for DSM-5 (PCL-5);

             e. Trauma Symptom Inventory – 2nd Edition (TSI-2); and

             f. Structured Inventory of Malingered Symptomology (SIMS).




      (2) Records released pursuant to this Order shall not be released to or discussed with any

          person or entity not directly involved with this litigation or used for any purpose other

          than this litigation without the prior approval of this Court.
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(3) Upon the termination of this litigation, all records produced pursuant to this Order shall

   be immediately destroyed or returned to Dr. Sandra Michel.



                                    New Orleans, Louisiana, this 24th day of August 2022.




                                                KAREN WELLS ROBY
                                          UNITED STATES MAGISTRATE JUDGE
